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UNITED STATES DISTRICT COURT .
NORTHERN DISTRICT OF OHIO

RYAN D. MALONE

Petitioner,
Gase No.

Ref. No. 1:14-CR-438

 

vs.

Hon. Benita Y. Pearson

UNITED STATES OF AMERT
« cA Verified Petition

Respondent.

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MOTION TO VACATE, CORRECT OR SET ASIDE SENTENCE
PURSUANT TO 28 U.S.C. § 2255

 

 

Now Comes the petitioner, RYAN D. MALONE, pro-se, and respectfully ask this
honorable Court to vacate and correct his sentence because he received ineffective

assistance of counsel on appeal as fully explained below:
ISSUES PRESENTED

1. COUNSEL WAS INEFFECTIVE FOR FAILING TO RAISE THAT THE DISTRICT COURT MISAPPLIED
THE ENHANCEMENT UNDER USSG § 2K2.1(a)(4)(A) BECAUSE PETITIONER'S PRIOR CONVIC-
FOR VIOLATING OHIO REV. CODE ANN. § 2925.03(A)(2) IS NOT A "CONTROLLED SUBSTANCE
OFFENSE" AS CONTEMPLATED BY USSG § 4B1.2(b), AFTER THE SUPREME COURT'S DECISIONS
IN DESCAMPS v. UNITED STATES, 133 S. Ct. 2276 (2013), and MATHIS v. UNITED STATES
136 S. Ct. 2276 (2013).

}

 

2. PETITIONER'S APPELLATE COUNSEL WAS INEFFECTIVE FOR FAILING TO RAISE ON APPEAL
THAT THE DISTRICT COURT ALSO MISAPPLIED THE ENHANCEMENT UNDER USSG § 4A1.1(d)
SINCE THE STATE OF OHIO HAD DECLARED THE POST. RELEASE..CONTROL PORTION OF THIS
PETITIONER'S STATE SENTENCE "VOID."

STATEMENT OF THE CASE

Petitioner was indicted on one count of being a felon in possession of a fire-
arm in violation of 18 U.S.C. § 922(g). Petitioner then plead guilty without the
benefit of a plea agreement. Petitioner was originally sentenced on July 2, 2015.
At sentencing the district court set the base offense level at 24 under USSG §
2K2.1(a)(2); imposed a 2 level increase based upon the possession of a stolen
firearm under USSG § 2K2.1(b)(4); a four level increase under USSG § 2K2.1(b)(6)(B),
based upon the allegations of kidnapping and assault that were then pending based
upon the facts as recited above, and the connection of the firearms seized from
petitioner and his co-defendant at the arrest. The district court found that the

petitioner's criminal history score was 13 and the offense level was 27 Then, after

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a three level reduction for acceptance of responsibility, and a criminal history
category of V, the range under the sentencing table was.130-thru-162 months of in-
carceration. Because the statutory maximum was 120 months, the district court sen-

tenced petitioner to 120 months of incarceration.

On Appeal, petitioner challenged his sentence calculation based upon the
Supreme Court's decision in Johnson v. United States, 135 S. Ct. 2551 (2015), and
arguing that his prior conviction for aggravated burglary was no longer a crime of
violence and also challenging the district court's i mposition of the four level
enhancement under USSG § 2K2.1(b)(6)(B), base upon the the district court's fail-
ure to make sufficient factual findings to support the enhancement. The court of
appeals remanded, finding that Johnson was applicable, and ordered resentencing.

After=remand, the district court ordered a revised Pre-Sentence Investigation
Report. The government filed a sentencing memorandum where they requested the
imposition of an 120 month sentence, which would be an upward variance from the

Guidelines sentencing range.

Petitioner also filed a pro-se motion to correct error in the PSI stating that
his criminal history was improperly calculated based upon the fact that the two
additional points he received pursuant to USSG § 4A1.1(d), because his Post Release
Control had been voided by the State of Ohio.

Sentencing was held on November 15, 2016. There, the district court rejected
petitioner objection to enhancement pursuant to § 4A1.1(d) by making a finding
that post release control was merely "'terminated," instead of having been "'Voided."
And granted the government's request for an upwards variance of 5 months from a
Guideline ramge of 92-to-115 months, and resentenced petitioner to the statutory

maximum of 120 months of incarceration.

Petitioner again appealed. In that appeal, petitioner's attorney raised two
issues. Those were that petitioner was improperly enhanced under USSG § 2K2.1(b)(6)
(B); and whether petitioner sentence was unreasonable due to the court's failiur

to depart from criminal history category VI.

Appellant disagreed with the issues that counsel was raising on appeal, and
specifically request that counsel raise on appeal that he was improperly enhanced

under USSG § 2K2.1(a)(4)(A) because his prior conviction under Ohio Rev. Code Ann.
§ 2529.03(A)(2), was not a "controlled substance offense"' after the Supreme Court's
decisions in both Descamps v. United States, 133 S. Ct. 2276 (2013) & Mathis v.
United States, 136 S. Ct. 2243 (2016); and he requested that counsel raise that

 

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he was also improperly enhanced under USSG § 4A1.1(d) because the Post Release
Controle protion of petitioenr's state sentence was voided and not merely termi-
nated.

When petitioner's attorney refused to raise these issues, petitioner file a
motion to the Court of Appeal seeking permission to proceed pro-se on appeal. In
that motion, petitioner alerted the court of appeals to the fact that he and his
attorney had disagreed on the issues that should be raised on appeal, and that
petitioner believed that the issues that he wanted raised not only had merit, but
were supported by Supreme Court Case law, and the Case law of the Ohio State
Supreme court. |

The Court of Appeals denied petitioner's motion to proseed pro-se, and subse~
quently denied petitioner's appeal.

ISSUES AND ARGUMENTS IN SUPPORT

1. COUNSEL WAS INEFFECTIVE FOR FAILING TO RAISE ON APPEAL, THAT THE DISTRICT COURT
MISAPPLIED THE ENHANCEMENT UNDER USSG § 2K2.1(a)(4)(A) BECAUSE THIS PETITIONER'S
PRIOR CONVICTION FOR VIOLATING OHIO REV. CODE ANN. § 2925.03(A)(2) IS NOT A
"CONTROLLED SUBSTANCE OFFENSE" AS CONTEMPLATED BY USSG § 4B1.2(b), AFTER THE
SUPREME. COURT'S DECISIONS IN DESCAMS v. UNITED STATES, 133 S. Ct. 2276 (2013),
AND MATHIS v. UNITED STATES, 136 S. Ct. 22/6 (2013)

Since this is a claim of ineffective assistance of counsel, this court must
look to the Supreme Courts ruling in Strickland v. Washington, 466 U.S. 668 (1984).
There, the court made several points clear that are relevant here. Those points
are;

(1) The right to counsel is the right to effective assistance of counsel."

(2) "The Sixth Amendment right to counsel exist, and is needed, in order to
protect the fundamental right to a fair trial, since access to counsel's
skill and knowledge is necessary to accord defendants the ample oppor-

tunity to meet the case of the prosecution to which they are entitle "

Because of the above, the Court stated that:

(3) "Counsel can deprive a defendant of the right to effective assistance of
counsel simply by failing to render adequate legal assistance."
Additioanlly, each claim of ineffective assistance of counsel is subject to a fam-
iliar two part test. First, the petitioner must show that counsel's performance
was deficient, and second, he must show that the deficient performance prejudiced

the defense such that "there is a "reasonable probability" that but for counsel's

unprofessional errors, the result of the proceedings would have been different. Id

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Id. at 694, 104 S. Ct. 2052. And it must be remembered that petitioner does ‘not
have to show that the outcome of the proceeding "would have been different", but

a petitioner only has to show a "reasonable probability" of a different outcome.
Which is, as the Supreme Court has explained, "less than a probability." See United

States v. Dominguez-Benitez, 542 U.S. 74, 83 n.9, 124 S. Ct. 2333, 159 L. Ed. 2d
1578 (2004).

Lastly, when a petitioner is making a claim of ineffective assistance of appel-
late counsel. He is required to make an additional showing. Because it is well
settlled that "appellate counsel ... need not (and should not) raise every non-
frivolous claim, but rather may. select from among: them in order to maximize the
likelihood of success on appeal.’ See Smith v. Robbins, 528 U.S. 259, 288, 120 S.
Ct. 746, 145 L. Ed 2d 756 (2000), as a general rule, it is "only when ignored
issues are clearly stronger than those presented [that] the presumption of effec-
tive assistance of counsel [can] be overcome.'" Id. (quoting Gray v. Greer, 800
F.2d 644, 646 (7th Cir. 1986)). Furthermore, in the appellate counsel context,
to demonstrate prejudice, petitioner must show a reasonable probability that his
claims would have succeeded on appeal. See Id. at 285-86; Benning v. Warden, 345
Fed. Appx. 149, 155-56 (6th Cir. 2009); McCleese v. United States, 75 F.3d 1174,
1180 (7th Cir. 1996).

In this case, to determine whether counsel's performance was deficient under
all of the above, we must look to the statute under which petitioner prior convic-
tion rest. Petitioner was enhanced under USSG § 2K2.1(a)(4)(A) based upon a prior

Ohio State conviction for violating Ohio Rev. Code Am. § 2925.03(A)(2). That
statute states;

"No person shall knowingly prepare for shipment, ship, transport, deliver,
prepare for distribution, or distribut a controlled substance or a control-
led substance analog, when the offender knows or has reasonable cause to
believe that the controlled substance or a controlled substance analog

is intended for sale or resale by the offender or another person."

At the time of petitioner's appeal, he asked counsel to argue that this statute
sweeps more broadly than the definition of “controlled substance offense" found
at USSG § 4B1.2(b), in light of the Supreme Court's decisions in both Mathis, and
Descamps. Counsel disagreed and refused to raise this issue on appeal. But petiti-
oner can clearly show that he was, and is correct, as fully explained below. t/

1. Petitioner sent counsel a letter explaining Mathis,-Descamps and how they applied
to Ohio Rev. Code Ann. § 2925.03(a)(2).

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In Mathis, the Court discussed the correct approach to use in the application

of the categorical and modified categorical approach to a statute, and when a
statute set forth alternative means of committing a single element, and when a
statute sets forth different elements that must be found by a jury, The Court noted
that a prior crime qualifies as a predicate offense only if the elements are the
same or narrower than those of the generic offense listed in the statute. Id. at
2247. When a statute is indivisible, a court can determine whether a crime counts
as an ACCA predicate by lining up the crime's elements along side those of a
generic offense to see if the elements match. Id. at 2248. In the case of a divis-
ible statute, where the statute list elements in the alternative, a court employs

a “modified categorical approach" by which a court may exanine a limited class of
documents (charging document, terms of plea agreement, colloquy in which the fac-
tual basis of the plea was confirmed by the defendant, or some comparable judicial
record of this information." Shepard v. United States, 544 U.S. 13 (2005). This
allows a court "to determine what crime, with what elements, a defendant was con-

victed of." Mathis v. United States, 136 S. Ct. 2243 (2016).

Applying -:Mathis to Ohio Rev. Code Ann. 2925.03(A)(2), it is clear that the
statute set forth altermative means of committing the trafficking element of the
offense, and therefore, the modified categorical approach never comes into play.
See United States v. Walker, 858 F.3d 196, n.3 (4th Cir. 2017)("It appears that
the various acts in § 2925.03(A)(2) are various menas by which the single traffic-
king offense can be committed and that the statute therefore is not divisible.

See State v. Calabrales, 118 Ohio St. 3d 54, 2008 Ohio 1625, 886 N.E.2d 181, 189
(Chio 2008)."' This is because the statute can be violated by either possessing
which the intent’ to distribute, or with reason to believe that someone else will
distribte a controlled substance or a controlled substance analog. But the problem

 

is that the Guideline provision under which petitioner was enhanced (USSG § 2K2.1
(a)(4)(A)). which calls for a base offense level of 20 if the defendant committed
any part of the instant offense subsequent to sustaining one felony conviction of
either a crime of violence, or a controlled substance offense, borrows its defini-
tion of "controlled substance offense" from USSG § 4B1.2(b). That definition does
not cover "controlled substance analogs." That guideline only covers "controlled

substances,'' and "counterfeit substances."
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§ 4B1.2(b) states:

(b) “The term "'controlled substance offense" means an offense under federal |
or state law, punishable by imprisonment for a term exceeding one year, that
prohibits the manufacture, import, export, distribution or dispensing of a
controlled substance (or counterfeit substance) or the possession of a con-
trolled substance (or counterfeit substance) with the intent to manufacture,
import, export, distribute, or dispense."

Now federal law makes a distinction between a "controlled substance,” a "counter-

feit substance,"

and a "controlled substance analog."’ A controlled substance is

"a drug or other substance, or immediate precursor, included in schedule I,II,III
IV, or V of part B of this title [21 USCS § 812]. (see 21 USC § 802(6)). In other
words, if the substance is not listed in one of the schedules above, it is not a

controlled substance.

The term "counterfeit substance" is defined at 21 USC § 802(7) as "a controlled
substance which, or a container or labeling of which, without authorization, bears
the trademark, trade name, or other identifying mark, imprint, number, or device,
or any likeness thereof, of a manufacture, distributor, or dispenser other than
the person or persons who in fact manufactured, distributed, or dispensed such
substance and which thereby falsely purports or is represented to be the product

of, or to have been distributed by, such other manufacturer, distributor, or dis-
penser."

So under federal law, a counterfeit substance also must be a controlled sub-

stance, or be falsely labeled or otherwise presented as such.

The term "controlled substance analog" on the other hand does not have to
either be a controlled substance at all, nor labeled as such. This is clear from
examining 21 USC § 802(32)(A) which defines a “controlled substance analog" as
"a substance (i) the chemical structure of which is substantially similar to the
chemical structure of a controlled substance in Schedule I or II."' Other parts of
§ 802(32) covers chemicals that have similar effects on the body, but again, are

not controlled substances, nor labeled as such.

Since when applying the categorical approach, one must first line up the
elements of the state statute with the generic federal offense and determine if
the state crimes elements either are the same or narrower than the federal offense,

and when that process in done in regards to Ohio Rev. Code Ann. § 2925.03(A)(2),
it is clear that the Ohio statute punishes a larger swath of conduct, as the

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Federal Sentencing guidelines do not cover "controlled substance analogs.

Descamps, 133 S. Ct. 2276, made it clear at 133 S. Ct. at 2283, that "if the
Statute sweeps more broadly than the generic crime, a conviction under that law
cannot count as an ACCA predicate, even if the defendant actually committed the
offense in its generic form." Therefore, petitioner's conviction for violating
Ohio Rev Code Ann. § 2925.03(A)(2) is not a controlled substance offense under
USSG § 2K2.1(a)(4)(A), and petitioner's attorney was ineffective for failing to
use her "skill and knowledge," (see Strickland), on appeal, and raise this issue
since both Descamps and Mathis were already decided. And again, petitioner not
only alerted counsel fo this issue, but attempted to raise it himself in the Court
of Appeals.

To show the prejudice of counsels failure, even if all of the other enhance-
ments still applied, petitioner's starting base offense level would have been 14.
This, coupled with a criminal history category of VI, produces a recommended
Guidelines sentence of 51-to-63 months, based on a total adjusted offense level
of 17, and a crimianl history category of VI. Just recently, in Faison v. United
States, 650 Fed. Appx. 881 (6th Cir. 2016), the Court of Appeals heard an appeal
of the denial of a § 2255 petition where the petitioner complained that ineffective
assistance of counsel cause him to be sentenced to an incorrect Guidelines range.
The Court of Appeals, in reversing the denial of the petition, quoted the Supreme
Court's opinion in Molina-Martinez v. United States, 136 S. Ct. 1338, 1345, 194 L.
Ed 2d 444 (2016)(concluding that the harmless error standard does not require a
"further showing of prejudice beyond the fact that the erroneous, and higher,
Guidelines range set the wrong framwork for the sentencing proceeding" and that
""’ tJhis is so even if the ultimate sentence falls within both the correct and
incorrect range"). The Court of Appeal in In re Patrick, 833 F.3d 584 (6th Cir.
2016) further noted that in Peugh v. United States, 133 S. Ct. 2072 (2013), the
Supreme Court stated that "Even if the sentencing judge sees a reason to vary from
the Guidelines, if the judge uses the sentencing range as the beginning point to
expalin the decision to deviate from it, then the Guidelines are in a real sence
the basis for the sentence.'"' (see Peugh, 133 S. Ct. at 2083).

What the above means is that if petitioner's argument is correct that under
the categorical approach his prior conviction is not a "controlled substance offense’
and his guidelines were improperly calculated, and his attorney failed to raise
this issue on appeal, after being alerted by petitioner to the error/argument, then

petitioner was clearly prejudiced, and counsel was clearly ineffective.

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Now the government may have some argument as to whether petitioner's prior
drug conviction was a "controlled substance offense" under the Guidelines. (Even
though their argument would untimately fail). But there is simply no argument that
can be made against petitioner's second issue because the Sixth Circuit Court of

Appeals has already ruled on the subject, and that decision is binding as fully
explained below.

ISSUE TWO

PETITIONER'S COUNSEL WAS INEFFECTIVE FOR FAILING TO RAISE ON APPEAL THAT THE DIS-
TRICT COURT ALSO MISAPPLIED THE ENHANCEMENT UNDER USSG § 4A1.1(d) SINCE THE STATE
OF OHIO HAD DECLARED THE POST RELEASE CONTROLLED PORTION OF THIS PETITIONER'S STATE

SENTENCE VIOD.

As stated before, not only did petitioner raise, at his resentencing that his
Ohio Post release control had been voided, but he specifically requested that coun-
sel raise this issue on appeal and bring to the court's attention that he had been
improperly enhanced under USSG § 4A1.1(d) which calls for a 2 point increase in
his criminal history category for being under a criminal justice sentence at the
time of the instant offense. The District Court, at petitioner's resentencing had
ruled against him by finding that the Post Release Control was merely "terminated,"
but not "voided," and therefore, at the time of the instant offense, petitioner
was under a criminal justice sentence.

But, if petitioner's attorney would have used her skill and knowledge to at
least check the case law from the Sixth Circuit Court of Appéals on the subject,
after being alerted to the issue by the petitioner, she would have found that the
Court had noted in United States v. Tally, 470 Fed. Appx. 495 (6th Gir. 2012), that
"the Ohio Supreme Court in Ohio v. Fischer, 128 Ohio St. 3d 92, 2010 Ohio 6238
(Ohio 2010), explicitly held that the failure of a state trial court to follow the
correct statutory procedure for post-release control voids only the portion of the
sentence that delt with post-release control:

It is only the postrelease-control aspect of the sentence that is void and
that must be rectified.

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We similarly hold that when a judge fails to impose statutorily mandated
postrelease. control as part of a defendant's sentence, that part of the

sentence is void and must be set aside. Neither the [Ohio] Constitution

nor common sence commands anything more."
In addition to the above, petitioner must point out that the word "void" means -
"ineffectual; nugatory; having no legal force or binding effect; unable in law to

Support the purpose for which it was intended.” See Balck's Law 6th Ed., page 1573.

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To put it plainly, when the courts of Ohio grants a defendant relief because
the state trial court failed to follow the correct procedure for imposing post-
release control, the. court always voids the portion of the sentence that deals

with postrelease control. It is never just terminated.

Therefore, in light if the above, petitioner should have never been enhanced
under USSG § 4A1.1(d), and this fact would have been both clear and obvious to
any attorney who had simply taken the time to look at this Circuit's case law.
This issue is (along with issue one raised herein) clearly stronger than either
of the two issues that petitioner's attorney raised on appeal, and both would have
entitled him to relief. If this court finds that both of petitioner's arguments
are correct, petitioner's correct Sentencing Guidelines range would be 46-57 months.

This is based on a total offense level of 17, and a crimianl history category of V.

Therefore, this court should find that petitioner's attorney was clearly

ineffective.
CONCLUSION AND RELIEF SOUGHT

Wherefore, with all of the above being considered, petitioner request that
this honorable court grant him the following relief:

(1) Find that petitioner's attorney was ineffective for failing to raise on
appeal that his prior conviction under Ohio Rev. code Ann. § 2925.03(A)(2)
was not a "controlled substance offense" under USSG § 4B1.2(b), and there-
for petitioner should not have been enhanced under USSG § 2K2.1(a)(4)(A).

(2) Find that petitioner is entitled to be resentenced without the enhance-
ment (USSG § 2K2.1(a)(4)(A)).

(3) Find that petitioner's attorney was ineffective for failing to raise on
appeal that petitioner was erroneously enhanced under USSG § 4A1.1(d)
because his Ohio postrelease control was declared "void" by the Ohio
courts.

(4) Find that petitioner should be resentenced without the USSG § 4A1.1(d)
enhancement. Or,

(5) Find that petitioner is entitled to a new appeal where he can raise
the above issues, and

(6) Grant any additional relief that this court deems just and proper.

Respectfully Submitted:

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Ryan D. Malone
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I declare under the penalty of perjury that all of the facts contained herein
are true and correct to the best of my firsthand knowledge nad belief, and that
this Verified Petition was signed on October AY" 2017.

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Ryan D. Malone, pro-se
Reg. No. 40£02;~| bo
USP McCreary
P.O. Box 3000

Pine Knot, KY 42635

 

SUBSCRIBED AND SWORN to before me this 24“, day of October, 2017.

ae yee of Notary Public

   
  

   

Larry Lewis
Notary Public
ai Large, Kentu
Commission Expires on ¢/- 3

   

CERTIFICATE OF SERVICE

 

I certify that I have placed a copy of this Motion to Vacate, Correct or Set
Aside Sentence pursuant to 28 USC § 2255, in the legal Mail here at USP McCreary,
for delivery by the United States Postal service, to the United States District
Court for the Nothern District of Ohio, in a selaed envelope, with postage
pre-paid, and addressed to the court as shown below, on this AU“, day of
October, 2017

United States District Court
Northern district of Ohio
125 Market Street, Room 337
Youngstown, Ohio 44503

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Ryan D. Malone ©

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